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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

CHRISTINA CUNHA, individually and on
Behalf of a group of similarly situated
individuals,

Plaintiffs,
                                                          CASE NO. 1:15-cv-12900
v.

GLOBAL CLIENT SOLUTIONS, LLC,
an Oklahoma limited liability company;
GLOBAL HOLDINGS, LLC,
an Oklahoma limited liability company;
ROBERT MERRICK, an individual; and
MICHAEL HENDRIX, an individual;

Defendants.

                                     NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1441, 1446, and the Class Action Fairness Act of 2005

(“CAFA”),1 and 28 U.S.C. § 1331, with full reservation of all defenses, Defendants, Global

Client Solutions, LLC (“Global”), Global Holdings, LLC (“Global Holdings”), Robert Merrick

(“Merrick”) and Michael Hendrix (“Hendrix”), (collectively referenced herein as “Defendants”)

hereby remove this action from the Superior Court of the Commonwealth of Massachusetts to

the United States District Court, District of Massachusetts. In support of this Notice of Removal,

Defendants state the following:

     I. Background.

        1.       On April 8, 2015, Plaintiff Christina Cunha (“Plaintiff”) filed this lawsuit against

Defendants in the Superior Court of Massachusetts, Middlesex County, with the above caption




1. CAFA is codified as 28 U.S.C. §§ 1332(d) and 1453.
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and case number 15-2378. Defendants were served with summons and Class Action Complaint

on June 9, 2015.

       2.       Generally, Plaintiff asserts that Defendants harmed Plaintiff and similarly-situated

Massachusetts consumers by charging up-front or advanced fees in connection with debt-relief

services in which they enrolled. Plaintiff also alleges that Defendants charged and received

money or other valuable consideration to perform credit repair services before such services

were fully performed. She likewise asserts that Defendants engaged in conduct and practices that

are unfair and deceptive under Massachusetts law.

       3.       More specifically, in Counts I through III of the five count Class Action

Complaint, Plaintiff alleges Defendants Global, Merrick, and Hendrix violated the Consumer

Financial Protection Act of 2010 (“CFPA”) (Compl. ¶¶ 4, 34-46) and the Telemarketing and

Consumer Fraud and Abuse Prevention Act (“TCFAPA”) predicated on violations of the

Telemarketing Sales Rules (“TSR”) (Compl. ¶¶ 4, 34-46). In Count IV, Plaintiff alleges

Defendants violated the federal Credit Repair Organizations Act (“CROA”) (Compl. ¶¶ 4, 47-

49). Lastly, in Count V, Plaintiff asserts Global violated Massachusetts’s Regulation of Business

Practices for Consumer Protection (“MCPA”) (Compl. ¶¶ 4, 50-53) based on allegedly unfair

and deceptive business practices within Massachusetts.

       4.       Plaintiff seeks to represent a class of Massachusetts consumers who she alleges

are similarly situated to her: Massachusetts residents who paid money to Defendants as a result

of contracts with debt relief service providers (Compl. ¶¶ 55, 57).

   II. Basis for Jurisdiction.

       3.       This Court has jurisdiction over this removed action on two separate bases: under

CAFA and 28 U.S.C. § 1331, because the CROA claim raises a federal question.



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             a. This Case is a “Class Action” under CAFA

       4.       Jurisdiction over this action is proper, first, pursuant to 28 U.S.C. §§ 1332(d),

1441 and 1453. Indeed, this action for monetary relief could have originally been filed in this

Court pursuant to 28 U.S.C. § 1332(d)(2) because it is a putative class action wherein at least one

Plaintiff is a citizen of a State different from at least one Defendant, and the matter in

controversy exceeds $5,000,000 in the aggregate (Compl. ¶¶ 1, 54-61). According to 28 U.S.C.

§ 1332(d)(1)(B), the term “class action” means any civil action filed under Rule 23 of the

Federal Rules of Civil Procedure or similar state statute or rule of judicial procedure authorizing

an action to be brought by one (1) or more representative persons as a class action.

       In the Complaint, Plaintiff alleges that class certification is appropriate and supported by

allegations presented in paragraphs 54-61 of the Complaint, pursuant to Massachusetts Rules of

Civil Procedure Rule 23:


                One or more members of a class may sue or be sued as
                representative parties on behalf of all only if (1) the class is so
                numerous that joinder of all members is impracticable, (2) there
                are questions of law or fact common to the class, (3) the claims or
                defenses of the representative parties are typical of the claims or
                defenses of the class, and (4) the representative parties will fairly
                and adequately protect the interests of the class.

       5.       Accordingly, this action classifies as a class action under by 28 U.S.C.

§ 1332(d)(1)(B).

       The CAFA Requirements are Met

       6.       Federal district courts have original jurisdiction over any putative class action in

which (i) any member of a class of plaintiffs is a citizen of a State different from any defendant

and (ii) the amount in controversy exceeds $5,000,000 in the aggregate. See 28 U.S.C.

§ 1332(d)(2). Each of these requirements is satisfied in this case.


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       Diversity Requirement.

       The diversity requirement is met in this case, as supported below.

       7.       Citizenship of Plaintiff. Plaintiff, the proposed class representative, is a citizen

of the state of Massachusetts. (Compl. ¶¶ 1 and 5).

       8.       Citizenship of Defendants.        Defendants are all citizens of Oklahoma as

explained in further detail below and as supported by the Declaration of Brent Hampton, Esq.,

attached hereto as Exhibit “A.”

             a. Global is a limited liability company, formed under the laws of Oklahoma with its

                principal place of business in Oklahoma, and is a citizen of Oklahoma (Compl. ¶

                6). Global is a wholly-owned subsidiary of Global Holdings (Global has no

                members distinct from those of Global Holdings), whose citizenship is explained

                next. (Ex. A, Hampton Decl. ¶ 3).

             b. Global Holdings is a limited liability company, formed under the laws of the State

                of Oklahoma with its principal place of business in Oklahoma, and is a citizen of

                Oklahoma (Compl. ¶ 7). Further, Global Holdings has four (4) members, each of

                which is also a limited liability company formed under the laws of Oklahoma.

                Each of the four LLCs’ citizenship is explained next (Ex. A, Hampton Decl. ¶ 4).

                    i. Global Holdings, LLC Member #1: The Merrick Family, LLC, an

                        Oklahoma limited liability company with its principal place of business in

                        Oklahoma, is a citizen of Oklahoma (Ex. A, Hampton Decl. ¶ 4(a));

                           1. Members of the LLC: Beverly Merrick, Timothy Merrick, Julie

                               Landers, Amy Merrill, Robert Merrick – all five (5) individuals are

                               citizens of the State of Oklahoma (Ex. A, Hampton Decl. ¶ 4(a)(i)).



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       ii. Global Holdings, LLC Member #2: Global Marketing Associates, LLC, an

           Oklahoma limited liability company with its principal place of business in

           Oklahoma, is a citizen of Oklahoma (Ex. A, Hampton Decl. ¶ 4(b));

               1. Members of the LLC:

                      a) Soloman International, LLC, an Oklahoma limited liability

                          company with its principal place of business in Oklahoma,

                          is a citizen of Oklahoma. The only member is Michael

                          Hendrix, an individual and a citizen of the State of

                          Oklahoma (Ex. A, Hampton Decl. ¶ 4(b)(i)(1));.

                      b) Hendrix Marketing Group, LLC, an Oklahoma limited

                          liability company with its principal place of business in

                          Oklahoma, is a citizen of Oklahoma. The only member is

                          Randy Hendrix, an individual and a citizen of the State of

                          Oklahoma (Ex. A, Hampton Decl. ¶ 4(b)(i)(2)).

                      c) The Cyrus Group, LLC, an Oklahoma limited liability

                          company with its principal place of business in Oklahoma,

                          is a citizen of Oklahoma. The only member is Jeffrey

                          Boatman, an individual and a citizen of the State of

                          Oklahoma (Ex. A, Hampton Decl. ¶ 4(b)(i)(3)).

 c. Global Holdings, LLC Member #3: Argonaut Private Equity, LLC, an Oklahoma

    limited liability company with its principal place of business in Oklahoma, is a

    citizen of Oklahoma. The only member is George B. Kaiser, an individual and a

    citizen of the State of Oklahoma (Ex. A, Hampton Decl. ¶ 4(c)).



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             d. Global Holdings, LLC Member #4: BOKF-CS (Global Holdings), LLC, an

                Oklahoma limited liability company with its principal place of business in

                Oklahoma, is an Oklahoma citizen. The only member is BOK Financial

                Corporation, incorporated in Oklahoma with its principal place of business in

                Oklahoma, and is a citizen of Oklahoma (Ex. A, Hampton Decl. ¶ 4(d)).

       Value of the Amount in Controversy.

       9.       Based on the factual allegations of the Complaint and the Notice of Removal and

accompanying documents, construed as true for the purposes of assessing removal jurisdiction,

the amount in controversy exceeds $5,000,000, exclusive of interests and costs. See 28 U.S.C.

§ 1332(d)(2).

       10.      For instance, Plaintiff alleges a violation of CROA.2 Pursuant to 15 USC 1679

(g)(1) and (2), a person who violates CROA shall be liable for actual damages (which may be

calculated as the amount paid by the person to the credit repair organization), and punitive

damages as the court may allow, plus attorneys’ fees (in successful actions).

       11.      Here, if Plaintiff is successful with her CROA claim, Plaintiff’s actual damages

(the amount she paid in total to Global and to the debt-relief agency for their respective

services) would be $5,053.73 (Ex. A, Hampton Decl. ¶ 5, Exhibit 1). And, Plaintiff alleges that

her claims are “typical” of the class members’ claims (Compl. ¶ 57). Thus, to meet the threshold

CAFA jurisdictional minimum, there would need to be at least 990 class members (990 times

$5,053.73 equals $5,003,192.70). Global’s records, however, show that there are in excess of

2,000 consumers in Massachusetts, who are clients of debt relief companies, and for whom

Global maintains a special purpose account (thus, purported class members) (Ex. A, Hampton



2. 15 U.S.C. § 1679-1679(j).

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Decl. ¶ 6). Global’s records also show that Global and the debt relief companies collected a

combined total of in excess of $5,000,000.00 from such consumers for their respective services

(Ex. A, Hampton Decl. ¶ 6).

      12.     So, based on the CROA claim alone, the CAFA jurisdictional amount in

controversy is satisfied. Even if the 2,000 Massachusetts consumers only paid half of what

Plaintiff paid in fees to Global and the debt relief company, the sum would surpass

$5,000,001.00 jurisdictional amount (e.g., 2,000 times $2,526.87 equals $5,053,730). And, this

is even before any punitive damages are considered.

      13.     Section 1679(g)(a)(2)(B) specifically provides for a possible award of punitive

damages in class actions: any person who fails to comply with CROA is liable for the

“aggregate of the amount which the court may allow for each named plaintiff” and the

“aggregate of the amount which the court may allow for each other class member, without

regard to any minimum individual recovery.” If the Court were to award even just $100 per

person to the class in punitive damages, the value of the matter in controversy here would

increase by at least $2,000,000.00 ($100 times 2,000 consumers).

      14.     Setting aside the CROA claim, the CAFA jurisdictional amount in controversy is

met based solely on Plaintiff’s claims for violations of MCPA. Pursuant to M.G.L. c. 93A(3):

              [I]f the court finds for petitioner, recovery in the amount of actual
              damages or twenty-five dollars, whichever is greater; or up to
              three but not less than two times such amount if the court finds
              that the use or employment of the act or practice was a willful or
              knowing violation of said section two or that the refusal to grant
              relief upon demand was made in bad faith with knowledge or
              reason to know that the act or practice complained of violated
              said section two.
      15.     As shown above, Plaintiff’s alleged actual damages are $5,053.73. Plaintiff’s

alleged damages, when multiplied by approximately 2,000 consumers, exceed the $5,000,000.00

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jurisdictional amount. Add to this that Plaintiff is also seeking treble damages under the CFPA.

So, Plaintiff’s actual damages would be thereby increased to $15,161.19. And, this number

multiplied by 2,000 purported class members amounts to potential damages award of in excess

of $30,000,000.00. Considering these numbers for removal purposes only and taking Plaintiff’s

allegations that her claim is “typical” of the claims of each member of the class(es) she

represents (Compl. ¶ 57), there can be no doubt that the CAFA jurisdictional minimum is met in

this case.

        16.      Moreover, before Plaintiff filed this lawsuit, she sent a demand letter to Global’s

counsel, wherein she demanded $150,000.00 as a resolution of her individual claims. So,

Plaintiff clearly views her individual claims in this lawsuit as being worth $150,000.00 (Ex. A,

Hampton Decl. ¶ 7, Exhibit 2).3 Taking Plaintiff’s allegation that her claim is “typical” of the

purported class and is further worth $150,000.00, the potential damages exceed $5,000,000.00

(2,000 times $150,000 equals $300,000,000.00).

              b. Federal Question Jurisdiction.

        17.      This Court also has jurisdiction over this removed action pursuant to 28 U.S.C.

§§ 1331 and 1441(a) and (c). This claim could have originally been filed in this Court pursuant

to 28 U.S.C. § 1331, as this Court has original jurisdiction over all civil actions arising under the

“Constitution, laws, or treaties of the United States.” In Count IV of the Complaint, Plaintiff

brings a claim against Defendants for alleged violations of the federal CROA (Compl. ¶¶ 4, 47-

49)—i.e., a law of the United States. Plaintiff asserts that Defendants charged and received

money or other valuable consideration for the performance of credit repair services that


3. Of course Defendants do not admit that Plaintiff would be entitled to damages that meet or
exceed $5,000,000.00. Defendants only seek to establish that they have met their burden of
showing the sum or value of the matter in controversy is sufficient to satisfy 28 U.S.C. §
1332(d).

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Defendants allegedly agreed to perform before such services were fully performed in violation of

Section 404(b) of CROA.4

       18.     In addition to the federal CROA claim, in Counts I, II, and III of the Complaint,

Plaintiff asserts a claim for violation of the federal CFPA, also a law of the United States, against

Defendants Global, Merrick, and Hendrix (Compl. ¶¶ 4, 34-46). Plaintiff claims that Global is a

“covered person,” as defined under 15 U.S.C. § 5481(6), that has violated the CFPA by engaging

in unfair, deceptive, or abusive act or practice.5 Plaintiff further alleges that Defendants Global

Holdings, Merrick, and Hendrix are “related persons” as defined under 15 U.S.C. § 5481(25),

who have also engaged in similar unfair, deceptive, or abusive act or practice thereby violating

the federal CFPA. Plaintiff’s CFPA claims against Defendants are predicated upon violations of

the TSR – also a law of the United States.

       19.     Accordingly, as four out of Plaintiff’s five claims in this lawsuit are based on

alleged violations of four separate federal acts, this Court has federal question jurisdiction over

this matter and this case is removable to the United States District Court of Massachusetts.

       20.     Furthermore, in Count V of the Complaint, Plaintiff asserts Global violated

Massachusetts law—specifically the MCPA. Plaintiff’s state law claim is removable as it is

within this Court’s supplemental jurisdiction. “[A] federal court may exercise supplemental

jurisdiction over a state claim whenever it is joined with a federal claim and the two claims

“derive from a common nucleus of operative fact” and the plaintiff “would ordinarily be



4. 15 U.S.C. § 1679(b) states that “[n]o credit repair organization may charge or receive any
money or other valuable consideration for the performance of any service which the credit repair
organization has agreed to perform for any consumer before such service is fully performed.”
5. Pursuant to 15 U.S.C. § 5536(a), it is unlawful for “[a]ny covered person or service provider to
offer or provide to a consumer any financial product or service not in conformity with Federal
consumer financial law, or otherwise commit any act or omission in violation of a Federal
consumer financial law; or … to engage in any unfair, deceptive, or abusive act or practice.”

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expected to try them both in one judicial proceeding.”” Vera-Lozano v. International

Broadcasting, 50 F.3d 67, 70 (1st Cir. 1995). Because, this Court has federal question

jurisdiction over the CROA, CFPA, and TSR claims, it also has and should exercise

supplemental jurisdiction under 28 U.S.C. § 1367 over the MCPA claim, as well. This is so,

because the state law claim is so related to claims in the action that fall within the Court’s

original jurisdiction in that it forms part of the same case or controversy. Indeed, all allegations

making up the MCPA claim are the same as those alleged to support the federal claims. Finally,

Plaintiff’s state law claim does not raise any novel or complex issues of state law. Thus,

supplemental jurisdiction is proper here.

       Rule of Unanimity

       21.     With respect to Federal Question, Defendants must satisfy the Rule of Unanimity.

“The rule of unanimity requires that in order for a notice of removal to be properly before the

court, all defendants who have been served or otherwise properly joined in the action must either

join in the removal, or file a written consent to the removal.”6 Here, all Defendants have been

served and have also joined in this Removal, thus, the rule of unanimity is satisfied.7

   III. Notice Given.

       22.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of the Notice of

Removal will be promptly served on all parties, and a copy will be promptly filed with the Clerk



6. Frankston v. Denniston, 376 F. Supp. 2d 35, 38 (D. Mass. 2005)(As a general matter, in cases
involving multiple defendants, all defendants who have been served must join or assent in the
removal petition. This rule of unanimity requires that all defendants file their notice of removal
or consent to removal within thirty days of being served, and failure to do so constitute a defect
in the removal procedure and is grounds for remand.)
7. Notably, under CAFA “[a] class action may be removed to a district court of the United States
... without regard to whether any defendant is a citizen of the State in which the action is brought,
except that such action may be removed by any defendant without the consent of all defendants.”
28 U.S.C. § 1453(b).

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of the Civil Division of the Middlesex County, Superior Court of Massachusetts. A copy of the

Notice of Filing of Notice of Removal is attached as Exhibit “B.”

   IV. Removal is Timely Filed.

          23.      This Notice has been timely filed within thirty (30) days of Defendants’ receipt of

the Complaint, as required by 28 U.S.C. § 1446(b)(2)(B). Moreover, pursuant to 28 U.S.C. §

1446(b)(2)(C) “[i]f defendants are served at different times, and a later served defendant files a

notice of removal, any earlier-served defendant may consent to the removal even though that

earlier-served defendant did not previously initiate or consent to removal.” Here, however, all

Defendants were served with the summons and Complaint on June 9, 2015. Thus, this removal is

timely.

   V. Pleadings and Process.

          24.      As required by 28 U.S.C. § 1446(a), Defendants have attached copies of all state

court process and copy of the Complaint to this Notice of Removal. True and correct copies of

same are attached hereto as Composite Exhibit “C.”

   VI. Venue.

          25.      Pursuant to 28 U.S.C. § 1441(a), venue in this district is proper because this

action is currently pending in the Civil Division of the Middlesex County, Superior Court of the

Commonwealth of Massachusetts, a court sitting within the United States District Court, District

of Massachusetts.

   VII.         Non-Waiver of Defenses.

          26.      Nothing in this Notice shall be interpreted as a waiver or relinquishment of

Defendants’ right to assert any defense or affirmative matter, including without limitation a




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motion to dismiss pursuant to Federal Rule of Civil Procedure 12 and a motion to compel

arbitration pursuant to the Federal Arbitration Act.

       ACCORDINGLY, pursuant to 28 U.S.C. §§ 1331, 1367, 1441(a) and (c), 1446, and

CAFA as codified as 28 U.S.C. §§ 1332(d) and 1453, this Court has jurisdiction over this matter,

and Defendants hereby removes this action from the Civil Division of Middlesex County,

Superior Court of the Commonwealth of Massachusetts, to this Court.

Respectfully submitted this 6th day of July, 2015.

                                                       Respectfully Submitted,

                                                       GLOBAL CLIENT SOLUTIONS, LLC,
                                                       GLOBAL HOLDINGS, LLC, ROBERT
                                                       MERRICK and MICHAEL HENDRIX

                                                       By their attorneys

                                                       /s/ Michael C. Birch
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing was served on the following counsel of record
via U.S. Mail and email on this 6th day of July, 2015.

James W. Simpson, Jr., Esq.
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                                               /s/ Michael C. Birch
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                                               Lurie, Lent & Friedman, LLP
                                               Attorney for Defendants




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